1/17/24, 8:52 AM                                                USPS.com® - USPS Tracking® Results

           USDC IN/ND case 3:23-cv-00967-DRL-MGG document 8-5 filed 02/01/24 page 1 of 4

   USPS Tracking®                                                                                                  FAQs>




                                                                                                                 Remove X
   Tracking Number:

   9589071052701342331613
          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item was delivered to the front desk, reception area, or mail room at 10:21 am on January 12, 2024
         in ELKHART, IN 46516.



         Get More Out of USPS Tracking:
               USPS Tracking Plus®                                                                                      "Tl
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          Delivered                                                                                                     Q)
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          Delivered, Front Desk/Reception/Mail Room                                                                     "'"
          ELKHART, IN 46516
          January 12, 2024, 10:21 am


    •     Arrived at USPS Regional Destination Facility
          SOUTH BEND IN PROCESSING CENTER
          January 12, 2024, 1:18 am


    •     Arrived at USPS Regional Destination Facility
          FORT WAYNE IN DISTRIBUTION CENTER
          January 11, 2024, 2:38 pm



    •     Arrived at USPS Regional Origin Facility
          COLUMBUS OH DISTRIBUTION CENTER
          January 10, 2024, 8:58 pm


    •     Departed Post Office
          GROVE CITY, OH 43123
          January 10, 2024, 6:04 pm


    •I
          USPS in possession of item
https://tools. usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052701342331613%2C                1/2
1/17/24, 8:52 AM                                                USPS.com® - USPS Tracking® Results

            USDCCITY,
           GROVE   IN/ND OHcase
                            431233:23-cv-00967-DRL-MGG document 8-5 filed 02/01/24 page 2 of 4
           January 10, 2024, 12:33 pm


    •      Hide Tracking History



        What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)



         Text & Email Updates                                                                                    V



         USPS Tracking Plus®                                                                                     V



         Product Information                                                                                     V


                                                              See Less A

   Track Another Package


        Enter tracking or barcode numbers




                                                    Need More Help?
                                   Contact USPS Tracking support for further assistance.



                                                                   FAQs




https://tools. usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052701342331613%2C       2/2
1/17/24, 8:51 AM                                                USPS.com® - USPS Tracking® Results

           USDC IN/ND case 3:23-cv-00967-DRL-MGG document 8-5 filed 02/01/24 page 3 of 4

   USPS Tracking®                                                                                                  FAQs>




                                                                                                                 Remove X
   Tracking Number:

   9589071052701342331606
          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item was delivered to the front desk, reception area, or mail room at 1:37 pm on January 12, 2024 in
         SOUTH BEND, IN 46617.



         Get More Out of USPS Tracking:
               USPS Tracking Plus®                                                                                      "Tl
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          Delivered                                                                                                     Q)
                                                                                                                        0
          Delivered, Front Desk/Reception/Mail Room                                                                     "'"
          SOUTH BEND, IN 46617
          January 12, 2024, 1 :37 pm


    •     Arrived at USPS Regional Destination Facility
          SOUTH BEND IN PROCESSING CENTER
          January 12, 2024, 1:27 am


    •     In Transit to Next Facility


    I•    January 11, 2024


          Arrived at USPS Regional Origin Facility
          COLUMBUS OH DISTRIBUTION CENTER
          January 10, 2024, 8:58 pm


    •     Departed Post Office
          GROVE CITY, OH 43123
          January 10, 2024, 6:04 pm


    •I    USPS in possession of item

https://tools. usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052701342331606%2C                1/2
1/17/24, 8:51 AM                                                USPS.com® - USPS Tracking® Results

            USDCCITY,
           GROVE   IN/ND OHcase
                            431233:23-cv-00967-DRL-MGG document 8-5 filed 02/01/24 page 4 of 4
           January 10, 2024, 12:32 pm


    •      Hide Tracking History



        What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)



         Text & Email Updates                                                                                    V



         USPS Tracking Plus®                                                                                     V



         Product Information                                                                                     V


                                                              See Less A

   Track Another Package


        Enter tracking or barcode numbers




                                                    Need More Help?
                                   Contact USPS Tracking support for further assistance.



                                                                   FAQs




https://tools. usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052701342331606%2C       2/2
